Case 2:Ol-cV-02569-SH|\/|-tmp Document 154 Filed 05/12/05 Page 1 of 2 Page|D 171

HLED g g , ,_

lN THE UNITED srATEs DisTRICT CoURT ?' !3"""'
FoR THE WESTERN DISTRICT oF TENNESSEE O§ ft¢::=' : 9 gte §, n

WESTERN DI\/IsloN ` " " j " ' 42

 

 

THE NATIONAL MINORITY SUPPLIER
DEVELOPMENT COUNCIL BUSINESS
CONSORTIUM FUND, INC.,
Plaintiff,
\/S. NO. 01-2569-Ma
UNION PLANTERS NATIONAL BANK and
CLARENCE J. HARRIS, JR., individually and
RIVER CITY RAILROAD CONTRACTORS, INC.,

Defendants.

 

ORDER OF DISMISSAL

 

The parties have submitted a “Stipulation of Dismissal” in this matter indicating that this
matter may be dismissed With prejudice lt is therefore ORDERED that this case is DISMISSED

With prejudice, each party to bear its own costs, including attorneys’ fees.

<W///M~

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Entered this V*’ ygiay of May, 2005.

 

Tt:is document enteer on the docket sheet in compliance

Wrm nine ss and/or 79(3) FHCP on 51 12`66' 35
k

 

UNDITE` sTATES DISRTICT oURT - WESTERNDT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 154 in
case 2:01-CV-02569 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listedl

 

 

Scott A. Frick

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/lemphis7 TN 38120

Clarence .l. Harris
P.O. Box 140396
1\/1emphis7 TN 38114--039

Caren Beth Nichol

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/lemphis7 TN 38120

Michael G. McLaren

BLACK MCLAREN JONES & RYLAND
530 Oak Court Dr.

Ste. 3 10

1\/lemphis7 TN 38117

Honorable Samuel Mays
US DISTRICT COURT

